


BRIAN MILLSAP V. SHOW TRUCKS USA, INC.



NO. 07-02-0403-CR





IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 11, 2003


______________________________



IGNACIO LARA LUCIANO,




		Appellant


v.



THE STATE OF TEXAS, 




		Appellee

_________________________________



FROM THE 64TH DISTRICT COURT OF HALE COUNTY;



NO. A13258-9812; HON. JACK R. MILLER, PRESIDING


_______________________________



ABATEMENT AND REMAND


__________________________________


Before QUINN, REAVIS and CAMPBELL, JJ.

	Ignacio Lara Luciano (appellant) appeals pro se, his conviction for tampering with
governmental records.  The clerk's record was filed on November 18, 2002.  The reporter's
record was filed on January 15, 2003.  Thus, appellant's brief was due on February 14,
2003.  However, one was not filed on that date.  By letter dated February 24, 2003, we
notified appellant of the expired deadline and directed him to respond to our notification
of same by Thursday, March 6, 2003, or the appeal would be abated to the trial court
pursuant to Tex. R. App. P. 38.8.  March 6, 2003, passed without appellant submitting his
brief or otherwise responding to our letter. 

	Consequently, we abate this appeal and remand the cause to the 64th District Court
of Hale County (trial court) for further proceedings.  Upon remand, the trial court shall
immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to
determine the following:

	1.	whether appellant desires to prosecute the appeal;

	 

	2.  	whether appellant is indigent; and,


	3.  	whether appellant is entitled to appointed counsel.


	We further direct the trial court to issue findings of fact and conclusions of law
addressing the foregoing subjects.  Should the trial court find that appellant desires to
pursue this appeal, is indigent, and is entitled to appointed counsel, then we further direct
the court to appoint counsel to assist in the prosecution of the appeal.  The name, address,
phone number, telefax number, and state bar number of counsel who will represent
appellant on appeal must also be included in the court's findings of fact and conclusions
of law.  Furthermore, the trial court shall also cause to be developed 1) a supplemental
clerk's record containing the findings of fact and conclusions of law and 2) a reporter's
record transcribing the evidence and argument presented at the aforementioned hearing. 
Additionally, the trial court shall cause the supplemental clerk's record to be filed with the
clerk of this court on or before April 10, 2003.  Should additional time be needed to
perform these tasks, the trial court may request same on or before April 10, 2003.

	It is so ordered.

							Per Curiam

Do not publish.



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NO. 07-10-00316-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



FEBRUARY
28, 2011

&nbsp;



&nbsp;

MANUEL GARCIA, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 320TH DISTRICT COURT OF POTTER
COUNTY;

&nbsp;

NO. 60,369-D; HONORABLE DON R. EMERSON, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Appellant,
Manuel Garcia, was convicted of credit card abuse[1]
and fraudulent use or possession of identifying information[2]
and was sentenced by the convicting jury to confinement for two years in a
State Jail Facility with a fine of $5,000 on the credit card abuse case and
confinement for 15 years in the Institutional Division of the Texas Department
of Criminal Justice with a fine of $10,000 on the fraudulent possession of
identifying information case.&nbsp; Appellant
gave notice of appeal in the credit card abuse case.[3]&nbsp; We affirm the trial courts judgment. 

Appellant=s attorney has
filed an Anders brief and a motion to withdraw.&nbsp; Anders v. California, 386 U.S. 738, 87
S.Ct. 1396, 18 L.Ed.
2d 498 (1967).&nbsp;
In support of his motion to withdraw, counsel certifies that he has
diligently reviewed the record, and in his opinion, the record reflects no
reversible error upon which an appeal can be predicated.&nbsp; Id. at 744-45.&nbsp; In compliance with High v. State, 573
S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has
candidly discussed why, under the controlling authorities, there is no error in
the trial court=s judgment.&nbsp; Additionally, counsel has certified that he
has provided appellant a copy of the Anders brief and motion to withdraw
and appropriately advised appellant of his right to file a pro se
response in this matter.&nbsp; Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App.
1991).&nbsp; The court has also advised
appellant of his right to file a pro se response.&nbsp; Appellant has not filed a response.&nbsp;
By
his Anders brief, counsel reviewed all grounds that could possibly
support an appeal, but concludes the appeal is frivolous.&nbsp; We have reviewed these grounds and made an
independent review of the entire record to determine whether there are any
arguable grounds which might support an appeal.&nbsp;
See Penson v. Ohio, 488
U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe
v. State, 178 S.W.3d 824 (Tex.Crim.App.
2005).&nbsp; We have found no such arguable
grounds and agree with counsel that the appeal is frivolous.

Accordingly,
counsel=s motion to
withdraw is hereby granted and the trial court=s judgment is
affirmed.[4]

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Mackey
K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Do
not publish.&nbsp; 











[1]
See
Tex. Penal Code Ann. § 32.32(b)(1)(A) (West Supp. 2009).

&nbsp;





[2]
See
Tex. Penal Code Ann. § 32.51(b)(1) (West Supp. 2009).

&nbsp;





[3] No notice of appeal is found in the fraudulent
possession of identifying information case and, accordingly, this Courts
jurisdiction has not been invoked on any matters pertaining to such conviction.





[4] Counsel shall, within five days after this opinion is
handed down, send his client a copy of the opinion and judgment, along with
notification of appellant=s right to file a pro se petition for
discretionary review.&nbsp; See Tex. R. App. P. 48.4.







